                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
       vs.                                          )      No. 21-03141-01-CR-S-RK
                                                    )
DARRIS LAMAR MULL,                                  )
                                                    )
                          Defendant.                )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Counts One, Two,

Three and Four of the Indictment filed November 17, 2021, is now Accepted and the Defendant is

Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the Court.



                                                         /s/ Roseann Ketchmark
                                                       ROSEANN KETCHMARK
                                                    UNITED STATES DISTRICT JUDGE


Date: January 4, 2023




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